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                     EXHIBIT D
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                      EXHIBIT 9

            REDACTED VERSION
              OF DOCUMENT
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                            SAN JOSE DIVISION
_________________________________
                                  )
SPACE DATA CORPORATION,           )
                                  )
                      Plaintiff,  )   Case No.: 5:16-cv-03260-BLF
                                  )
                          v.      )
                                  )
ALPHABET INC., GOOGLE             )
LLC, and LOON LLC.,               )
                                  )
                      Defendants. )
_________________________________ )




                Expert Report of Christine S. Meyer, Ph.D.




                            SEPTEMBER 14, 2018


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     Patent, Space Data’s reservation price, and Space Data’s bargaining power, which

     would have been considerably stronger than that of Loon, I determine that

     reasonable royalty damages for the ’193 Patent would be absolutely no less than

     $110.3 million and could be considerably higher.

  f. Damages from the Defendants’ misappropriation of trade secrets would be equal

     to the unjust enrichment that they enjoyed from this misappropriation. This value

     is defined by the research and development (“R&D”) expenses that Google

     avoided by misappropriating Space Data’s trade secrets, which allowed it to

     confirm Project Loon’s technology as technically and commercially viable. The

     value of Google’s unjust enrichment from its theft of Space Data’s trade secrets

     would be no less than the amount that Space Data spent to develop those trade

     secrets,

  g. Damages from the Defendants’ breach of contract enabled their misappropriation

     of Space Data’s trade secrets, and provided other benefits associated with the

     additional confidential information that was inappropriately disseminated. Thus, it

     would be at least equal to the unjust enrichment that they enjoyed by using these

     trade secrets.




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           trade secrets. 532 This is a reasonable approach because, had Google not misappropriated

           the trade secrets, it may have been able to get itself to the same level of knowledge and

           understanding by undertaking the same or similar R&D as Space Data, thereby incurring

           similar costs as Space Data actually incurred to develop the knowledge inherent in the

           trade secrets. By misappropriating the trade secrets, Google saved those R&D costs,

           thereby enriching itself by that amount.


            B.         Unjust Enrichment from Trade Secret Misappropriation

           The importance of the technology at issue is that it can address the widespread problem

           of limited Internet connectivity in unserved and underserved areas of the world. In

           particular, I understand that several players are currently tackling the problem of

           providing Internet connectivity in places where it is not economically viable through

           standard methods. For example, companies like Facebook, Elon Musk’s SpaceX, Richard

           Branson’s Virgin, and Microsoft have invested in (or sponsored) programs aimed at

           providing Internet access to underserved areas. 533 The involvement of these companies in

           Internet satellite technologies demonstrates the existence of a vast, recognized interest in

           providing Internet connectivity through non-traditional ways. I understand that Loon

           benefitted from the use of Space Data’s trade secrets to be more confident of the viability

           of a balloon-based Internet system and to be able to effectively address this need earlier



532
      Id., pp. 8-16.
533   “Billionaires hit launch in web space race,” The Daily Telegraph, available
      https://global factiva.com/redir/default.aspx?P=sa&an=DT00000020180724ee7o00083&cat=a&ep=ASE, accessed
      September 10, 2018; “Microsoft Invests In African Startups In Bid To Improve Internet Access On The Continent,” Mehr
      News Agency, available
      https://global factiva.com/redir/default.aspx?P=sa&an=MENEAG0020180810ee8a000gp&cat=a&ep=ASE, accessed
      September 10, 2018.

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           than anybody else. 534 This benefit provided Loon with an early mover advantage in the

           marketplace.


           I understand that Google’s alleged misappropriation of Space Data’s trade secrets

           provided Google with evidence regarding the possibility of flying a balloon constellation.

           Google could forgo spending the money and time Space Data had invested in gathering

           and developing its trade secrets and start with a conviction that the core idea of Loon—

           precise control of balloon arrays at stratospheric altitudes—was something entirely

           possible.


           Without appropriating Space Data’s trade secrets that showed the technical and financial

           viability of maintaining and navigating an array of balloons at stratospheric altitudes,

           Google and Loon would have had to spend, at a minimum, the same considerable amount

           of R&D costs Space Data incurred in developing its trade secrets, including the 200,000

           flight hours of testing, just to arrive at the conviction that precise balloon control at

           stratospheric regions, and by extension, Project Loon, was possible. 535 Such conviction

           was extremely valuable in that it saved Google not only a significant sum in R&D costs,

           but also a considerable amount of time in Loon’s development, making it possible for

           Loon to be an early entrant in the market.


           As such, I estimate the cost savings that Loon would have obtained at minimum by

           quantifying the R&D cost Space Data has incurred in collecting and developing its



534   “Billionaires hit launch in web space race,” The Daily Telegraph, available at https://global factiva.com/redir/
      default.aspx?P=sa&an=DT00000020180724ee7o00030&cat=a&ep=ASE, accessed September 10, 2018.
535   Space Data’s July 13, 2018 Amended Responses to Google’s Interrogatory Nos. 12. 15, 16. 17, 19,20 and 23, p. 30.

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      therefore provided them at least the same benefit and at a minimum the same unjust

      enrichment, as the theft of trade secrets.




Signed this 14th day of September, 2018:




____________________________________

Christine Meyer, Ph.D.




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